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 8                           UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
10
     ERNEST C.,                        ) NO. EDCV 20-2470 KS
11                                     )
                      Plaintiff,
12           v.                        )
                                       ) JUDGMENT
13                                     )
     KILOLO KIJAKAZI, Acting           )
14
     Commissioner of Social Security,  )
15                     Defendant.      )
16   _________________________________ )
17
18         Pursuant to the Court’s Memorandum Opinion and Order, IT IS ADJUDGED that the
19   decision of the Commissioner of the Social Security Administration is affirmed and the above-
20   captioned action is dismissed with prejudice.
21
22   DATE: June 24, 2022
23                                                   ____________________________________
24                                                           KAREN L. STEVENSON
                                                      UNITED STATES MAGISTRATE JUDGE
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